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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


DIANE RATCLIFF                                     CIVIL ACTION NO. 17-4776

VERSUS                                             JUDGE CARL J. BARBIER

WINN-DIXIE STORES, INC., ET AL.                    SECTION: “J” (4)

                                                   HON. MAG. JUDGE
                                                   KAREN WELLS ROBY


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                                           ORDER

       Considering the foregoing Joint Motion to Dismiss with Prejudice (Rec. Doc. 49);

       IT IS ORDERED that the motion is hereby GRANTED and all claims of the plaintiff

in the above-captioned matter are hereby DISMISSED WITH PREJUDICE and with each party

to bear its own costs.

       New Orleans, Louisiana, this 10th day of July, 2018.



                                                   _________________________________
                                                         JUDGE CARL J. BARBIER
